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intended to be furnished by any person in exchange for a controlled substance,

pursuant to 21 U.S.C. § 88l(a)(6)

                          Facts Supporting Forfeiture

      7.     This Verified �omplaint fully incorporates the facts contained in the

attached Unsworn Declaration.

                                    Claim for Relief

The United States of America respectfully requests that the Court issue a warrant of

arrest for the Defendant In Rem; that due notice be given to all parties to appear and

show cause why the forfeiture should not be decreed; that the Court enter judgment

declaring the Defendant In Rem condemned and forfeited to the United States of

America for disposition according to law; and that the Court grant the United States

of America such other and further relief as the Court may deem just and proper,

together with the costs and disbursements of this action.

        RESPECTFULLY SUBMITTED.

       In San Juan, Puerto Rico, this 30th day of March 2022.

                                        W. STEPHEN MULDROW
                                        United States Attorney

                                        s/ Manuel Muniz-Lorenzi
                                        Manuel Muniz-Lorenzi.
                                        Assistant United States Attorney
                                        USDC # G03304
                                        Torre Chardon, Suite 201
                                        350 Carlos Chardon Street
                                        Hato Rey, PR 00918
                                        Tel. (787) 772-3945
                                        Email: Manuel.Muniz.Lorenzi@usdoj.gov
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                                 VERIFICATION
      I, Danielle Kluger, depose and say that I am a Special Agent with the Drug

Enforcement Administration and as such have responsibility for the within action, that

I have read the contents of the foregoing Verified Amended Complaint for Forfeiture

In Rem and, pursuant to 28 U.S.C. § 1746, verify under penalty of perjury that the

foregoing is true and correct to the best of my knowledge, information and belief.

      Executed in San Juan, Puerto Rico, this30th day of March 2022.




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                                               Drug Enforcement Administration




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